                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                               DOCKET NO. 3:11cr190-MOC

UNITED STATES OF AMERICA,                       )
                                                )
                   v.                           )       FINAL ORDER AND JUDGMENT
                                                )         CONFIRMING FORFEITURE
(4) DARLENE SCHOENER,                           )

       On July 30, 2012, this Court entered a preliminary order of forfeiture pursuant to 21

U.S.C. § 853(n) and Fed. R. Crim. P. 32.2(b), based upon the defendant’s plea of guilty to Count

One in the bill of indictment. In that count, defendant was charged with conspiracy in violation

of 18 U.S.C. ' 371 to commit offenses against the United States, including violations of 18

U.S.C. § 2314 (interstate transportation of stolen property). The defendant was ordered to forfeit

$3,332.00 in United States currency and two vehicles.

       On October 30, 2012, the Court entered a second preliminary order consisting of a

forfeiture money judgment for $7 million.

       On June 1, 2013 through June 30, 2013, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition

the Court within sixty days from June 1, 2013 for a hearing to adjudicate the validity of any

alleged legal interest in the property (Doc. 166). It appears from the record that no such petitions

have been filed regarding the subject real property. Based on the record, including evidence in

the presentence report and the factual basis for the plea of guilty regarding defendant’s

acquisition of property with criminal proceeds and use of property to commit the crime, the




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Court finds, in accordance with Rule 32.2(c)(2), that the defendant had an interest in the property

that is forfeitable under the applicable statute.

        It is therefore ORDERED:

        In accordance with Rule 32.2(c)(2), the preliminary orders of forfeiture are confirmed as

final. All right, title, and interest in the following property, whether real, personal, or mixed, has

therefore been forfeited to the United States for disposition according to law:

        Approximately $3,332.00 in United States currency;

        One 2003 Chevrolet Avalanche C1500 , VIN 3GNEC13T13G345294;

        One 1999 Volkswagon Beetle, VIN 3VWCA21C6XM425581; and,

        A forfeiture money judgment for criminal proceeds in the amount of $7 million; provided
        that the defendant shall be jointly and severally liable with any other defendants who are
        also ordered to pay a proceeds money judgment in this case.




                                                          Signed: February 6, 2015




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